Case: 1:11-cr-00129-JG Doc #: 68 Filed: 03/22/17 1 of 2. PageID #: 320



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
-------------------------------------------------------
                                                      :
UNITED STATES OF AMERICA,                             :            Case No. 1:11-CR-129
                                                      :            Case No. 1:16-CV-235
         Plaintiff,                                   :
                                                      :
vs.                                                   :            OPINION & ORDER
                                                      :            [Resolving Doc. 54]
CHARLES COMPTON,                                      :
                                                      :
         Defendant.                                   :
                                                      :
-------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

         Defendant Charles Compton petitions for habeas corpus relief under 28 U.S.C. § 2255.

He argues that he no longer qualifies as a career offender and was improperly sentenced under

the United States Sentencing Guideline § 4B1.1; 1.2(a).1 The Supreme Court’s recent opinion in

Beckles v. United States2 forecloses his argument.

         Defendant Compton’s argument centers on the relationship between the Guidelines and

the Armed Career Criminals Act.

         On June 26, 2015, the Supreme Court gave an opinion in Johnson v. United States,

holding that the residual clause of the Armed Career Criminals Act was unconstitutionally

vague.3 If a sentencing court imposed an increased sentence based on felonies that qualified

under the residual clause alone, that sentence violated a criminal defendant’s constitutional right

to due process.4




1
  Doc. 54. Petitioner amended his petition. Doc. 60. The Government opposes. Doc. 62. Defendant Compton
replied. Doc. 65.
2
  No. 15-8544, 2017 WL 855781 (U.S. Mar. 6, 2017).
3
      U.S. , 135 S. Ct. 2551 (2015).
4
  Id.
Case: 1:11-cr-00129-JG Doc #: 68 Filed: 03/22/17 2 of 2. PageID #: 321

Case No. 1:11-CR-129
Gwin, J.

        A criminal defendant sentenced under the ACCA residual clause can collaterally

challenge his ACCA affected sentence in a § 2255 habeas proceeding.5

        The Guidelines’ career offender provision defines “crime of violence” using the same

language ruled unconstitutional in Johnson.6 Therefore, since Johnson, many criminal

defendants sentenced under the Guidelines’ career offender provision have argued that Johnson’s

holding should also apply retroactively to Guidelines cases.

        In Beckles, the Supreme Court rejected this argument. There, Petitioner argued that

because the Court’s Johnson opinion held “that the identically worded residual clause in the

Armed Career Criminal Act . . . was unconstitutionally vague . . . the Guidelines’ residual clause

is also void for vagueness.” 7 The Court held that because of the Guidelines’ advisory nature,

they “are not subject to vagueness challenges under the Due Process Clause.”8

        The Supreme Court’s decision dictates the outcome of Beckles-dependant cases pending

across the federal courts. Accordingly, this Court DENIES Defendant Compton’s § 2255

petition.

        IT IS SO ORDERED.



Dated: March 22, 2017                                           s/       James S. Gwin
                                                                JAMES S. GWIN
                                                                UNITED STATES DISTRICT JUDGE




5
  Welch v. United States, U.S. , 136 S. Ct. 1257, 1265 (2016).
6
  See United States Sentencing Guideline § 4B1.2(a) (emphasis added).
7
  No. 15-8544, 2017 WL 855781, at *3 (U.S. Mar. 6, 2017).
8
  Id.
                                                       -2-
